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                                       ORDERED.


     Dated: October 25, 2019




                   IN THE UNITED STATES BANKRUPTCY COURT
                MIDDLE DISTRICT OF FLORIDA, FORT MYERS DIVISION
 In Re:

 JAMES ANTHONY BROWNLEE                               Case No. 9:19-bk-03270-FMD

                  Debtor.
                                              /

                ORDER GRANTING MOTION TO SELL PROPERTY
             FREE AND CLEAR OF PURPORTED LIENS AND INTERESTS

        THIS CAUSE came before the Court for hearing on October 17, 2019 upon the
Trustee’s Motion to Sell Property of the Estate Free and Clear of Purported Liens and Interests
(Doc. No. 29) to Thomas E. Taylor III and Deborah L. Taylor, or their permitted assigns or
designees. The Court reviewed the record and considered the positions of the Trustee and all
parties in interest in attendance at the hearing, and for the reasons stated orally in court on the
record during the hearing, it is

         ORDERED that the Trustee’s Motion to Sell Property of the Estate Free and Clear of
Purported Liens and Interests is granted, it appearing that and this sale being conditioned upon
all lienholders on the property either being paid in full or consenting to the proposed sale.

        IT IS FURTHER ORDERED that the Trustee is hereby authorized to sell the
bankruptcy estate’s interest in the following property free and clear of liens, encumbrances and
interests on the terms contained in the Trustee’s motion: 217 Cornwall Avenue, Trenton, New
Jersey – Lot 7, Block 33802, Municipality of Trenton.
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       IT IS FURTHER ORDERED that the following are authorized to be paid at closing,
with net proceeds of at least $10,000.00 being paid to the bankruptcy estate:

       a.       Mr. Cooper – Approximately $187,000.00.

       b.       Wells Fargo Bank Nv NA – Approximately $6,000.00

       c.       Commission – Linda Reid/Gloria Nilson & Co and any cooperating agent/broker,
                if any - $13,320.00.

       d.       Other reasonable and customary closing costs to the Trustee, as Seller, which may
                include the following:

               i.   Settlement/Closing Charges (Approximately)                        $   275.00
              ii.   Title Insurance/Search (Approximately)                            $   250.00
            iii.    Water/Sewer Delinquency (Approximately)                           $   500.00
             iv.    Reasonable and customary closing costs not to exceed              $   750.00
              v.    Transfer Tax (State and/or County)                                $ 1,200.00
             vi.    2019 Taxes and/or Prorated taxes                                  $ 4,100.00
            vii.    Trustee Liability Insurance                                       $   650.00


       IT IS FURTHER ORDERED that the Court waives the 14-day stays set forth in Rules
6004(h) and 6006(d) of the Federal Rules of Bankruptcy Procedure and this Order granting this
motion be immediately enforceable and that the closing under the purchase agreement may occur
immediately.


Trustee Robert E. Tardif Jr. is directed to serve a copy of this order on interested parties who do
not receive service by CM/ECF and file a proof of service within three days of entry of this
order.
